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                                                                                FILED
                                                                          JAMES J. VILT, JR. - CLERK

                           UNITED STATES DISTRICT COURT                           MAR 19 2025
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE
                                                                            U.S. DISTRICT COURT
                                                                           WESrN. DIST. KENTUCKY
UNITED STATES OF AMERICA

                                                                   INDICTMENT
v.
                                                            NO. 1 '; ;iS-Cf2_- Y3-'DJE(
                                                                 18 u.s.c. § 2
ABDULKADIR MALINDO (1-7, 9-25)                                   18 u.s.c. § 922(0)
ABDULKADIR ALI (1, 3)                                            18 U.S.C. § 924(a)(2)
HUSSEIN HUSSEIN (1, 7, 8)                                        18 U.S.C. § 924(c)(l)(A)
HENRY MARTINEZ (1, 2)                                            18 U.S.C. § 924(c)(l)(B)
BILAL MALINDO (1, 22, 23)                                        18 U.S.C. § 924(d)
                                                                 18 U.S.C. § 933(a)(l)
                                                                 18 U.S.C. § 933(b)
                                                                 21 u.s.c. § 846
                                                                 21 U.S.C. § 84l(a)(l)
                                                                 21 U.S.C. § 841(b)(l)(A)
                                                                 21 U.S.C. § 841(b)(l)(B)
                                                                 21 U.S.C. § 841(b)(l)(C)
                                                                 21 u.s.c. § 853
                                                                 28 U.S.C. § 2461

The Grand Jury charges:

                                           COUNTl
                   (Conspiracy to Possess with Intent to Distribute Fentany[)

       On or about and between October 28, 2024, and March 5, 2025, in the Western District of

Kentucky, Jefferson County, Kentucky, the defendants, ABDULKADIR MALINDO,

ABDULKADIR ALI, HUSSEIN HUSSEIN, HENRY MARTINEZ, and BILAL MALINDO,

.knowingly conspired with each other and others known and unknown to the Grand Jury, to

knowingly and intentionally possess with intent to distribute 400 grams or more of a mixture and

substance containing a detectable amount ofN-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]

propanamide, commonly known as "fentanyl," a Schedule II controlled substance as defined in

Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 846, 841(a)(l) and (b)(l)(A).
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The Grand Jury further charges:

                                             COUNT2
                                     (Distribution ofFentanyl)

       On or about October 28, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendants, ABDULKADIR MALINDO and HENRY MARTINEZ, aided and

abetted by each other, knowingly and intentionally distributed a mixture and substance containing

a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanarnide, commonly

known as "fentanyl," a Schedule II controlled substance as defined in Title 21, United States Code,

Section 812.

       In violation of Title 21, United States Code, Sections 84l(a)(l) and (b)(l)(C) and Title 18,

United States Code, Section 2.



The Grand Jury further charges:

                                             COUNT3
                                     (Distribution ofFentanyl)

       On or about November 5, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendants, ABDULKADIR MALINDO and ABDULKADIR ALI, aided and

abetted by each other, lmowingly and intentionally distributed 40 grams or more of a mixture and

substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]

propanarnide, commonly known as "fentanyl," a Schedule II controlled substance as defined in

Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 84l(a)(l) and (b)(l)(B)(vi) and Title

18, United States Code, Section 2.




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The Grand Jury further charges:

                                            COUNT4
                                    (Distribution ofFentanyl)

       On or about November 9, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, knowingly and intentionally distributed

40 grams or more of a mixture and substance containing a detectable amount ofN-phenyl-N-[1-

(2-phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

controlled substance as defined in Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(I) and (b)(l)(B)(vi).



The Grand Jury further charges:

                                         COUNTS
             (Possession ofa Firearm in Furtherance of a Drug Trafficking Crime)

       On or about November 9, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, did knowingly possess a firearm, that is,

a Plumcrazy Firearms, Gen II, multi-caliber pistol, bearing serial number Z07764 and a multi-

caliber pistol, in furtherance of a drug trafficking crime for which he may be prosecuted in a court

of the United States.

       In violation of Title 18, United States Code, Section 924(c)(l)(A).



The Grand Jury further charges:

                                             COUNT6
                                     (Distribution ofFentanyl)

       On or about November 19, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, knowingly and intentionally distributed

40 grams or more of a mixture and substance containing a detectable amount ofN-phenyl-N-[1-
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(2-phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

controlled substance as defined in Title 21, United States Code, Section 812.

          In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(B)(vi).



The Grand Jury further charges:

                                               COUNT7
                                       (Distribution ofFentanyl)

          On or about November 2C 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendants, ABDULKADIR MALINDO and HUSSEIN HUSSEIN, aided and

abetted by each other, knowingly and intentionally distributed 40 grams or more of a mixture and

substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]

propanamide, commonly known as "fentanyl," a Schedule II controlled substance as defined in

Title 21, United States Code, Section 812.

          In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(B)(vi) and Title

18, United States Code, Section 2.



The Grand Jury further charges:

                                            COUNTS
                (Possession ofa Firearm in Furtherance of a Drug Trafficking Crime)

          On or about November 21, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, HUSSEIN HUSSEIN, did knowingly possess a firearm, that is, a

Radical Firearms, Model RF-15, multi-caliber pistol, bearing serial number 21-078872, in

furtherance of a drug trafficking crime for which he may be prosecuted in a court of the United

States.

          In violation of Title 18, United States Code, Section 924(c)(l)(A).

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The Grand Jury further charges:

                                            COUNT9
                                    (Distribution ofFentanyl)

       On or about December 2, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, knowingly and intentionally distributed

40 grams or more of a mixture and substance containing a detectable amount of N-phenyl-N-[1-

(2-phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

controlled substance as defmed in Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(B)(vi).



The Grand Jmy further charges:

                                           COUNT IO
                                    (Distribution ofFentanyl)

       On or about December 3, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, knowingly and intentionally distributed

a mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-

piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II controlled substance as

defined in Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(C).



The Grand Jury further charges:

                                          COUNT 11
             (Possession of a Firearm in Furtherance ofa Drug Trafficking Crime)

       On or about December 3, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, did knowingly possess a firearm, that is,



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a P80, 9-millimeter pistol, bearing no serial number, in furtherance of a drug trafficking crime for

which he may be prosecuted in a court of the United States.

       In violation of Title 18, United States Code, Section 924(c)(1 )(A).



The Grand Jury further charges:

                                           COUNT 12
                                    (Distribution ofFentanyl)

       On or about December 5, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, knowingly and intentionally distributed

40 grams or more of a mixture and substance containing a detectable amount of N-phenyl-N-[1-

(2-phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

controlled substance as defined in Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 84l(a)(l) and (b)(l)(B)(vi).



The Grand Jury further charges:

                                          COUNT 13
              (Possession ofa Firearm in Furtherance ofa Drug Trafficking Crime)

        On or about December 5, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, did knowingly possess a firearm, that is,

an American Tactical Imports, Omni Hybrid, multi-caliber pistol, bearing serial number

SN208948, in furtherance of a drug trafficking crime for which he may be prosecuted in a court of

the United States.

        In violationofTitle 18, United States Code, Section 924(c)(l)(A).




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The Grand Jury further charges:

                                           COUNT14
                                    (Distribution ofFentanyl)

       On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, knowingly and intentionally distributed

40 grams or more of a mixture and substance containing a detectable amount ofN-phenyl-N-[1-

(2-phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

controlled substance as defined in Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(B)(vi).



The Grand Jury further charges:

                                           COUNT 15
                              (fllegal Possession of a Machine Gun)

On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, did knowingly possess a machine gun,

that is, a Glock Switch, bearing no serial number.

       In violation of Title 18, United States Code, Sections 922(0) and 924(a)(2).



The Grand Jury further charges:

                                           COUNT16
                                      (Firearms Trafficking)

       On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, did transfer and otherwise dispose of a

firearm, that is: a Glock Switch, bearing no serial numbers, to Witness #1, in and otherwise




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affecting commerce, knowing and having reasonable cause to believe that the use, carrying, or

possession of the :fireann by Witness # 1 would constitute a felony.

       In violation of Title 18, United States Code, Sections 933(a)(l), and 933(b).



The Grand Jury further charges:

                                         COUNT17
             (Possession ofa Firearm in Furtherance ofa Drug Trafficking Crime)

       On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, did knowingly possess a firearm, that is,

a Glock Switch, bearing no serial number, in furtherance of a drug trafficking crime for which he

may be prosecuted in a court of the United States.

       In violation of Title 18, United States Code, Section 924(c)(l)(B)(ii).



The Grand Jury further charges:

                                            COUNT 18
                                     (Distribution ofFentanyl)

        On or about January 2, 2025, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, knowingly and intentionally distributed

40 grams or more of a mixture and substance containing a detectable amount of N-phenyl-N-[1-

(2-phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

controlled substance as defined in Title 21 , United States Code, Section 812.

        In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(B)(vi).




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The Grand Jury further charges:

                                         COUNT19
             (Possession ofa Firearm in Furtherance ofa Drug Trafficking Crime)

       On or about January 2, 2025, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, did knowingly possess a firearm, that is,

a Glock, Model 19X, 9-millimeter pistol, bearing serial number BGWP657, in furtherance of a

drug trafficking crime for which he may be prosecuted in a court of the United States.

       In violation of Title 18, United States Code, Section 924(c)(l)(A).



The Grand Jury further charges:

                                           COUNT20
                                    (Distribution ofFentanyl)

       On or about January 17, 2025, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, knowingly and intentionally distributed

40 grams or more of a mixture and substance containing a detectable amount ofN-phenyl-N-[1-

(2-phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

controlled substance as defined in Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 84l(a)(l) and (b)(l)(B)(vi).



The Grand Jury further charges:

                                         COUNT21
             (Possession ofa Firearm in Furtherance ofa Drug Trafficking Crime)

       On or about January 17, 2025, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, did knowingly possess a fireaim, that is,

a Bear Creek Arsenal, Model BCA19, multi-caliber pistol, bearing serial number Al 17648 and a



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Canik.55, Model TP-9SF, 9 millimeter pistol, bearing serial number 20BC17172, in furtherance of

a drug trafficking crime for which he may be prosecuted in a court of the United States.

       In violation of Title 18, United States Code, Section 924(c)(l)(A).



The Grand Jury further charges:

                                           COUNT22
                                    (Distribution ofFentanyl)

       On or about February 3, 2025, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendants, ABDULKADIR MALINDO and BILAL MALINDO, aided and

abetted by each other, knowingly and intentionally distributed 40 grams or more of a mixture and

substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]

propanam.ide, commonly known as "fentanyl," a Schedule II controlled substance as defined in

Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(B)(vi) and

Title 18, United States Code, Section 2.



The Grand Jury further charges:

                                           COUNT23
                                    (Distribution ofFentanyl)

        On or about February 13, 2025, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendants, ABDULKADIR MALINDO and BILAL MALINDO, aided and

abetted by each other, knowingly and intentionally distributed 40 grams or more of a mixture and

substance containing a detectable amount ofN-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]




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propanamide, commonly lrnown as "fentanyl," a Schedule II controlled substance as defined in

Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(B)(vi) and Title

18, United States Code, Section 2.



The Grand Jury further charges:

                                            COUNT24
                                     (Distribution ofFentanyl)

       On or about March 5, 2025, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, knowingly and intentionally distributed

40 grams or more of a mixture and substance containing a detectable amount ofN-phenyl-N-[1-

(2-phenylethyl)-4-piperidinyl] propanamide, commonly lrnown as "fentanyl," a Schedule II

controlled substance as defined in Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 84l(a)(l) and (b)(l)(B)(vi).



The Grand Jury further charges:

                                          COUNT25
             (Possession of a Firearm in Furtherance ofa Drug Trafficking Crime)

       On or about March 5, 2025, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ABDULKADIR MALINDO, did lrnowingly possess a firearm, that is,

a Palmetto, multi-caliber rifle, bearing serial number SCD041463; a Sig Sauer, Model P226, .40

caliber pistol, bearing serial number U814870; a Canik, 9 millimeter pistol, bearing serial number

21BC35972; and a Glock, Model 22, .40 caliber pistol, bearing serial number NBL253, in




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furtherance of a drug trafficking crime for which he may be prosecuted in a court of the United

States.

          In violation of Title 18, United States Code, Section 924(c)(l)(A).



                                     NOTICE OF FORFEITURE

          As a result of committing offenses in violation of Title 21, United States Code, Sections

846, 84l(a)(l), and 841(b)(l), as specifically charged in this Indictment, felonies punishable by

imprisonment for more than one year, the defendants, ABDULKADIR MALINDO,

ABDULKADIR ALI, HUSSEIN HUSSEIN, HENRY MARTINEZ, and BILAL MALINDO,

shall forfeit to the United States, pursuant to Title 21, United States Code, Section 853, any

property constituting, or derived from, proceeds obtained, directly or indirectly, as a result of said

violations and any property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of the said violations (including but not limited to all firearms and

ammunition).

          As a result of committing offenses in violation of Title 18, United States Code, Sections

924(a)(2), 924(c), 933, and 922(0) as specifically charged in this Indictment, the defendants,

ABDULKADIR MALINDO and HUSSEIN HUSSEIN, shall forfeit to the United States,

pursuant to Title 18, United States Code, Section 924(d), and Title 28, United States Code, Section

2461, all firearms, magazines, and ammunition involved in the commission of said offenses,

including but not limited to a Plumcrazy Firearms, Gen II, multi-caliber pistol, bearing serial

number Z07764; a Radical Firearms, Model RF-15, multi-caliber pistol, bearing serial number 21-

078872; a P80, 9-millimeter pistol, bearing no serial number; an American Tactical Imports, Omni

Hybrid, multi-caliber pistol, bearing serial number SN208948; a Glock Switch, bearing no serial

number; a Glock, Model 19X, 9-millimeter pistol, bearing serial number BGWP657; a Bear Creek


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Arsenal, Model BCA19, multi-caliber pistol, bearing serial number Al 17648; a Canik55, Model

TP-9SF, 9 millimeter pistol, bearing serial number 20BC17172; a Palmetto, multi-caliber rifle,

bearing serial number SCD041463; a Sig Sauer, Model P226, .40 caliber pistol, bearing serial

number U814870; a Canik, 9-millimeter pistol, bearing serial number 21BC35972; a Glock, Model

22, .40 caliber pistol, bearing serial number NBL253; and ammunition.

                                                    A TRUE BILL.




MICHAEL A. BENNETT
UNITED STATES ATTORNEY

MAB:ER:03/19/2025




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UNITED STATES OF AMERICA v. ABDULKADIR MALINDO ct al.

                                                           PENALTIES

Count 1:              NL 10 yrs./NM Life/$10,000,000/both/NL 5yrs. Supervised Release
                      (NL 15 yrs./NM Life/$20,000,000/both/NL 10 yrs./NM Life Supervised Release (with notice of one prior
                      conviction))
                      (NL 25 yrs./NM Life//$20,000,000/both/NL 10 yrs./NM Life Supervised Release (with notice of two prior
                       convictions))
Counts 2,10:          NM 20 yrs./$1,000,000/both/NL 3yrs. Supervised Release (each count)
                      (NM 30 yrs./$2,000,000/both/NL 6 yrs. Supervised Release with notice ofone prior conviction)
Counts 3,4,6,         NL 5 yrs./NM 40 yrs./$1,000,000/both/NL 4yrs. Supervised Release (each count)
7,9,12,14,18,         (NL 10 yrs./NM Life/$2,000,000/both/NL 8 yrs./NM Life Supervised Release with notice of one prior conviction)
20,22,23 ,24:
Counts 5,8,           NL 5 years consecutive/$250,000/both/NM 5 yrs. Supervised Release (each count)
11,13,19,21,
25:
Count 15:             NM 10 yrs./$250,000/both/NM 3 yrs. Supervised Release
Count 16:             NM 15 yrs./$250,000/both/NM 3 yrs. Supervised Release
Count 17:             NL 30 yrs./NM Life/$250,000/both/NM 5 yrs. Supervised Release
Forfeiture

                                                               NOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSMENTS, FINES, RESTITIITION & COSTS.


SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count ofa conviction of offenses committed after
November 11, 1984, as follows:

           Misdemeanor:            $ 25 per count/individual               Felony:         $100 per count/individual
                                   $125 per count/other                                    $400 per count/other

FINES

In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United States Attorney's
Office with a current mailing address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court. 18 U.S.C. § 3571, 3572, 3611, 3612

Failure to pay fine as ordered may subject you to the following:

           1.    INTEREST and PENALTIES as applicable by law according to last date ofoffense.

                      For offenses occurring after December 12, 1987:

                      No INTEREST will accrue on fines under $2,500.00.

                      INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
                      the time of sentencing. This rate changes monthly. Interest accrues from the first business day
                      following the two week period after the date a fine is imposed.

                      PENALTIES of:

                      10% of fine balance if payment more than 3 0 days late.

                      15% of fine balance if payment more than 90 days late .

           2.         Re cordation of a LIEN shall have the same force and effect as a tax lien.

           3.         Continuous GARNISHMENT may apply until your fine is paid.

           18   u.s.c. §§ 3612, 3613
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                     If you WILLFULLY refuse to pay your fine, you shall be subject to an ADDITIONAL FINE
                     of not more than the greater of$10,000 or twice the unpaid balance ofthe fine; or
                     IMPRISONMENT fornot more than I year or both. 18 U.S.C. § 3615


RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to make
restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. § 3663


APPEAL

If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:

           I.        That you deposit the entire fine amount (or the amount due under an instalhnent schedule
                     during the time of your appeal) in an escrow account with the U.S. District Court Clerk, or

          2.         Give bond for payment thereof.

           18 u.s.c. § 3572(g)

PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

                     LOUISVILLE:                      Clerk, U.S. District Court
                                                      106 Gene Snyder U.S. Courthouse
                                                      601 West Broadway
                                                      Louisville, KY 40202
                                                      502/625-3500

                     BOWLING GREEN:                   Clerk, U.S. District Court
                                                      120 Federal Building
                                                      241 East Main Street
                                                      Bowling Green, KY 42101
                                                      270/393-2500

                     OWENSBORO:                       Clerk, U.S. District Court
                                                      126 Federal Building
                                                      423 Frederica
                                                      Owensboro, KY 42301
                                                      270/689-4400

                     PADUCAH:                         Clerk, U.S. District Court
                                                      127 Federal Building
                                                      501 Broadway
                                                      Paducah, KY 42001
                                                      270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
